       Case 4:23-cv-05136-TOR         ECF No. 13   filed 11/20/23   PageID.74 Page 1 of 2




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 5                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 6

 7    JOHN DOE, a New Mexico Resident,
                                                           NO. 4:23-CV-5136-TOR
 8                                Plaintiff,
                                                          ORDER TO PROCEED USING
 9           v.                                           PSEUDONYM

10    THE BOARD OF TRUSTEES
      WHITMAN COLLEGE, a Washington
11    Not for Profit Corporation,

12                                Defendants.

13
           BEFORE THE COURT is Plaintiffs’ Motion to Proceed under a Pseudonym
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     and for a Protective Order. ECF No. 9. This matter was submitted for
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     consideration without oral argument. Defendant has filed no response. For good
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     cause shown and lack of prejudice to the opposing party or to the public’s interest,
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     Plaintiffs’ motion is granted.
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           Plaintiff indicates that he will disclose his identity to the Court and to the
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     Defendant upon request. Plaintiff requests the Court order that his identity remain
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     confidential in all the public filings and exhibits filed in this case.


        ORDER TO PROCEED USING PSEUDONYM ~ 1
       Case 4:23-cv-05136-TOR      ECF No. 13    filed 11/20/23   PageID.75 Page 2 of 2




 1   ACCORDINGLY, IT IS HEREBY ORDERED:

 2         1. Plaintiffs’ Motion to Proceed under a Pseudonym and for a Protective

 3             Order, ECF No. 9, is GRANTED.

 4         2. Plaintiff is allowed to proceed using a pseudonym rather than his legal

 5             name. Plaintiff will be referred to as John Doe in all pleading and

 6             exhibits filed on the public docket.

 7         3. Plaintiff shall be allowed to endorse documents related to this litigation

 8             using his pseudonym, as noted above.

 9         4. No party, interested party or intervenor, shall publicly disclose the

10             Plaintiff’s name or personal identifying information.

11         5. In all proceedings held before this Court, including trial, all counsel,

12             witnesses and court personnel present shall refer to Plaintiff according to

13             his pseudonym.

14         6. The Court reserves the right to revoke this order partially or in full upon

15             further briefing and necessity.

16         The District Court Executive is directed to enter this Order and furnish

17   copies to all counsel of record.

18         DATED November 20, 2023.

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20                                  THOMAS O. RICE
                                 United States District Judge


        ORDER TO PROCEED USING PSEUDONYM ~ 2
